        Case 1:19-cr-10080-NMG Document 2042 Filed 08/06/21 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                         )
                                                 )
   v.                                            )    Criminal No.: 19-10080-NMG
                                                 )
GREGORY COLBURN, et al.,                         )
                                                 )
                     Defendants                  )
                                                 )

                   GOVERNMENT’S MOTION TO DISMISS
           COUNT THREE OF THE FOURTH SUPERSEDING INDICTMENT

        The government respectfully moves to dismiss Count Three of the Fourth Superseding

Indictment, charging the remaining defendants with money laundering conspiracy, in violation of

Title 18, United States Code, Section 1956(h).

                                                        Respectfully submitted,

                                                        NATHANIEL R. MENDELL
                                                        Acting United States Attorney

                                                     By: /s/ Leslie A. Wright
                                                        JUSTIN D. O’CONNELL
                                                        KRISTEN A. KEARNEY
                                                        LESLIE A. WRIGHT
                                                        STEPHEN E. FRANK
                                                        IAN J. STEARNS
                                                        Assistant United States Attorneys


                                  CERTIFICATE OF SERVICE

        I hereby certify that this document, filed through the ECF system, will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing.

        Dated: August 6, 2021                           /s/ Leslie A. Wright
                                                        LESLIE A. WRIGHT
